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SreleT COURT
WESTERN DIST ARKANSAS
FILED
APR 28 2021
IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS 2
HOT SPRINGS DIVISION = pees:
UNITED STATES OF AMERICA )
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v. )  casEno. 6'AI@’ @OO/S- O00!
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)
STEVEN CURTIS REYNOLDS )
INDICTMENT
The Grand Jury charges:
INTRODUCTION

At all times material to this Indictment unless otherwise set forth, with all date and times
alleged to be “on or about” or “in or about,” and all amounts alleged to be approximately:

1. Steven Curtis Reynolds (hereinafter “REYNOLDS”) was involved in the business
of brokering freight shipments and owned and operated Reynolds Shipping USA, LLC. A freight
broker is a person or an organization that assists shippers in moving shipments from the point of
origin to their destinations by employing the service of carrier companies.

2. Wells Fargo Bank was a federally insured financial institution headquartered in
San Francisco, California. REYNOLDS controlled a checking account with account number
ending in 8128 at Wells Fargo Bank in the name of Reynolds Shipping USA, LLC.

3. Bank of America was a federally insured financial institution headquartered in
Charlotte, North Carolina. Merrill Lynch is a subsidiary of Bank of America. REYNOLDS
controlled a cash management account with account number ending in 3603 at Merrill Lynch and
a Bank of America checking account with account number ending 1571.

4. Aggregate Mining Process, LLC (hereinafter “AMP”), was a Nevada limited

liability company involved in the business of designing and supplying rock crushing and other
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heavy equipment for clients, to include iron ore mines and hydroelectric dam projects. AMP was
owned and operated by Nathan Myers.

5. From in or about June 2018 to in or about December 2018, REYNOLDS resided in
and conducted his freight brokering business from the Western District of Arkansas, Hot Springs
Division.

Wet Belt Project

6.In or about the summer 2018, AMP collaborated with Candor Supply LLC,
(hereinafter “Candor’’) on a contract to provide certain heavy industrial equipment for a project
in British Columbia, Canada commonly referred to as the Wet Belt Project. AMP was a
subcontractor to Candor but was primarily responsible for hiring vendors to manufacture the
equipment and to ship the equipment from the manufacturing location to the project site location.

7. AMP and Candor agreed to make an advance payment of $298,495 to
REYNOLDS to broker shipments of equipment for the Wet Belt Project including paying the
costs of shipping the equipment.

Lake Isabella Dam Project

8. In or about the summer of 2018, AMP obtained a contract to provide certain heavy
industrial equipment for a project in California commonly referred to as the Lake Isabella Dam
Project.

9. AMP agreed to make an advance payment of approximately $530,000 to
REYNOLDS to broker the shipment of equipment for the Lake Isabella Dam Project including
paying the costs of shipping the equipment.

SCHEME TO DEFRAUD INVOLVING SHIPPING
10. Beginning on or about an unknown date, but at least as early as in or about June

2018, and continuing at least until on or about December 2018, REYNOLDS knowingly and

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intentionally devised, intended to devise and participated in a scheme and artifice to defraud and
to obtain money and property by means of materially false and fraudulent pretenses,
representations and promises involving shipping payments (hereinafter “scheme to defraud
involving shipping”) and, in furtherance of the “scheme to defraud involving shipping”,
REYNOLDS did knowingly and willfully transmit and cause to be transmitted, in interstate

commerce, wire communications and transmissions.

MANNER AND MEANS
OF THE SCHEME TO DEFRAUD INVOLVING SHIPPING

11. The manner and means by which REYNOLDS, and others known and unknown,
carried out the “scheme to defraud involving shipping” included, but were not limited to the

following:

a. REYNOLDS falsely and fraudulently represented and promised that he
would broker and pay the costs for shipping equipment in exchange for advance payments of
shipping costs and thereby caused AMP and Candor to make advance payment of shipping costs
to REYNOLDS;

b. REYNOLDS received the advance payment for shipping costs but did not
broker and pay the costs for shipping equipment as he promised and represented and instead
converted the advance payments of shipping costs to his personal uses; and

c. REYNOLDS made false and fraudulent representations and promises
regarding the shipment of equipment intending thereby to lull Nathan Myers and others into a
false sense of security, to postpone inquiries and complaints and to otherwise conceal his

fraudulent conduct.
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ACTS IN FURTHERANCE OF THE SCHEME
TO DEFRAUD INVOLVING SHIPPING

12. In furtherance of the “scheme to defraud involving shipping” and to accomplish
its purposes, REYNOLDS, committed and caused to be committed the following acts, among
others, in the Western District of Arkansas and elsewhere:

13. In or about the Summer of 2018, REYNOLDS, promised, represented, and
agreed to broker and pay the costs for shipping equipment to the Wet Belt Project and the Lake
Isabella Dam Project in exchange for advance payment of the shipping costs.

14. On or about July 24, 2018, Candor on behalf of AMP made an interstate wire
transfer of $350,000 from a Candor account at J.P. Morgan Chase Bank to the Reynolds
Shipping USA LLC Wells Fargo Bank account with account number ending 8128. The interstate
wire transfer included the full advance payment of shipping costs of $298,495 for the Wet Belt
Project. The beneficiary of the interstate wire transfer was Reynolds Shipping USA LLC 294
Cougar Ter. Hot Springs, Arkansas.

15. REYNOLDS caused Candor to make the interstate wire transfer on behalf of
AMP by falsely and fraudulently representing and promising that REYNOLDS would broker and
pay the costs for shipping equipment for the Wet Belt Project.

16. After receiving the advance payment of shipping costs of $298,495 from Candor,
REYNOLDS spent most of the money on personal expenses and failed to broker and pay for the
shipping of equipment to the Wet Belt Project.

17. On or about August 13, 2018, AMP made an interstate wire transfer of $250,000
from an AMP account at Bank of America to REYNOLDS’s Merrill Lynch Bank of America
account with account number ending 3603. This wire transfer included a partial payment of
advance shipping costs for the Lake Isabella Dam Project of $235,000.

18. REYNOLDS caused AMP to make the wire transfer by falsely and fraudulently
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representing and promising that REYNOLDS would broker and pay the costs for shipping
equipment for the Lake Isabella Dam Project.

19. After receiving the advance payment of shipping costs of $235,000 from AMP,
REYNOLDS spent most of the money on personal expenses and failed to broker and pay for the
shipping of equipment to the Lake Isabella Dam Project.

20. On August 14, 2018, AMP made an interstate wire transfer of $295,000 from an
AMP account at Bank of America to the Reynolds Shipping USA LLC Wells Fargo Bank
account with account number ending 8128. This interstate wire transfer was the second and final
advance payment toward the approximate $530,000 in shipping costs for the Lake Isabella Dam
Project. The beneficiary of the interstate wire transfer was Reynolds Shipping USA LLC 294
Cougar Ter. Hot Springs, Arkansas. The interstate wire transfer contained the statement “Freight
Invoice Lake Isabella Dam”.

21. REYNOLDS caused AMP to make the interstate wire transfer by falsely and
fraudulently representing that REYNOLDS would broker and pay the costs for shipping
equipment for the Lake Isabella Dam Project.

22. After receiving the advance payment of shipping costs of $295,000 from AMP,
REYNOLDS spent most of the money on personal expenses and failed to broker and pay for the
shipping of equipment to the Lake Isabella Dam Project.

23. On October 30, 2018, in reply to an email from a construction manager on the
Lake Isabella Project, inquiring when a particular piece of AMP-supplied equipment would
arrive at the project site, REYNOLDS sent an email to the construction manager with copy to
Nathan Myers stating, “It’s being picked up at 1 tomorrow and Thursday afternoon is the best
but I can look to put to (sic) drivers in the truck to run 24/7.” REYNOLDS representations in this

email regarding the shipping of AMP-supplied equipment were false and fraudulent in that, in

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truth and fact as REYNOLDS well knew, no arrangements had been made to pick up the
equipment the next day and deliver it by Thursday afternoon.

SCHEME TO DEFRAUD INVOLVING THE JET FUEL REFINERY

24. Beginning on or about an unknown date, but at least as early as in or about July
2018, and continuing at least until on or about October 2018, REYNOLDS knowingly and
intentionally devised, intended to devise and participated in a scheme and artifice to defraud and
to obtain money and property by means of materially false and fraudulent pretenses,
representations and promises (hereinafter “scheme to defraud involving the jet fuel refinery”)
and, in furtherance of the “scheme to defraud involving the jet fuel refinery”, REYNOLDS did
knowingly and willfully transmit and cause to be transmitted, in interstate and foreign

commerce, wire communications and transmissions.

MANNER AND MEANS OF THE
SCHEME TO DEFRAUD INVOLVING THE JET FUEL REFINERY

25. The manner and means by which REYNOLDS, and others known and unknown,
carried out the “scheme to defraud involving the jet fuel refinery” included, but were not limited

to the following:

a. REYNOLDS solicited investments from Michael Pauletto (hereinafter Pauletto)
and others by falsely and fraudulently representing that he was going to construct and operate a
jet fuel refinery facility in Corpus Christi, Texas.

b. REYNOLDS falsely and fraudulently represented to Michael Pauletto that he had
secured a contract with the United States government to purchase jet fuel from the planned jet

fuel refinery.

c. After Michael Pauletto invested money in the jet fuel refinery, REYNOLDS made

false and fraudulent representations regarding the planned jet fuel refinery, intending and
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attempting thereby to lull Michael Pauletto into a false sense of security, to postpone inquiries

and complaints and to otherwise conceal his fraudulent conduct.

ACTS IN FURTHERANCE OF THE SCHEME
TO DEFRAUD INVOLVING THE JET FUEL REFINERY

26. In furtherance of the “scheme to defraud involving the jet fuel refinery” and to
accomplish its purposes, REYNOLDS, committed and caused to be committed the following
acts, among others, in the Western District of Arkansas and elsewhere:

27. REYNOLDS falsely and fraudulently represented to Michael Pauletto and others
that he was going to build a jet fuel refinery in Corpus Christi, Texas and solicited Michael
Pauletto and others to invest in the planned jet fuel refinery in exchange for receiving a
percentage of the profits.

28. In or about August 2018, REYNOLDS falsely and fraudulently represented to
Michael Pauletto and others that he had secured a contract with the United States government to
purchase jet fuel from the planned jet fuel refinery (hereinafter U.S. government jet fuel
contract), when in truth and in fact as REYNOLDS well knew, he had not secured such a
contract.

29. In or about August 2018, REYNOLDS falsely and fraudulently represented to
Michael Pauletto that REYNOLDS could not provide Michael Pauletto a copy of the U.S.
government jet fuel contract until REYNOLDS obtained a top security secret clearance, when in
truth and in fact as REYNOLDS well knew, REYNOLDS could not provide Michael Pauletto a
copy of the U.S. government jet fuel contract because no such contract existed.

30. On August 21, 2018, REYNOLDS sent an email to Michael Pauletto stating in
part that REYNOLDS expected to receive a “TS clearance” that day which would allow him to
send Michael Pauletto a copy of the U.S. government jet fuel contract. The email was an

interstate wire communication. The representations made by REYNOLDS in the email regarding
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providing Michael Pauletto a copy of the U.S. government jet fuel contract were false and
fraudulent in that, in truth and in fact as REYNOLDS well knew, there was no U.S. government
jet fuel contract.

31. In or about September 2018, in reliance on REYNOLDS’ false and fraudulent
representations, Michael Pauletto agreed to invest $260,000 in the planned jet fuel refinery.

32. On or about September 19, 2018, a REYNOLD’s employee, on behalf of
REYNOLDS, sent an email to Michael Pauletto with copy to REYNOLDS, stating in part
“Below is the contact for Aaron Christensen, he is our private banker at Bank Of America. You
can contact him and he will help you complete the wire. Let me know if you need anything else
from me I am happy to help.” This email was an interstate wire communication.

33. On September 19, 2018, REYNOLDS sent an email to a Bank of America
employee instructing the employee to “fix” an issue that arose when Michael Pauletto attempted
to electronically transfer $260,000 into REYNOLDS’ Bank of America account with account
number ending in 1571. This email was an interstate wire communication.

34. On or about September 21, 2018, Michael Pauletto invested in the planned jet fuel
refinery by making an intra-bank transfer of $260,000 to REYNOLDS’ Bank of America
account with account number ending 1571.

COUNTS ONE THROUGH FOUR
WIRE FRAUD
Title 18, United States Code, Section 1343
35. Paragraphs 1 through 23 are re-alleged and incorporated herein as if fully set forth
in their entirety.
36. Beginning at a time unknown but at least as early as in or about June 2018 and

continuing to in or about January 2019 in the Western District of Arkansas, Hot Springs Division

and elsewhere, the Defendant, STEVEN CURTIS REYNOLDS, devised and intended to devise

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a scheme and artifice to defraud and for obtaining money and property by means of material

false and fraudulent pretenses, representations and promises, namely, the “scheme to defraud

involving shipping” as described above.

Springs Division, and elsewhere, the Defendant, STEVEN CURTIS REYNOLDS, for the
purpose of executing the above-described “scheme to defraud involving shipping” transmitted

and caused to be transmitted by means of wire communication in interstate commerce, any

37. On or about the dates listed below, in the Western District of Arkansas, Hot

EXECUTION OF THE SCHEME TO DEFRAUD INVOLVING SHIPPING

writings, signs, signals, pictures, and sounds, that is, the following:

 

Count

Date

Wire Transmission

 

July 24, 2018

Wire transfer of $350,000 from a Candor Supply LLC

‘account at J.P. Morgan Chase to the Reynolds Shipping USA

LLC Wells Fargo Bank account with account number ending
8128.

 

August 13, 2018

Wire transfer of $250,000 from an AMP account at Bank of
America to REYNOLDS’s Merrill Lynch Bank of America
account with account number ending 3603

 

 

 

3 August 14,2018 | Wire transfer of $295,000 from an AMP account at Bank of
America to the Reynolds Shipping USA LLC Wells Fargo
Bank account with account number ending 8128.

4 October 30, 2018 | Electronic mail from REYNOLDS to Nathan Myers stating

 

 

“It’s being picked up at 1 tomorrow and Thursday afternoon
is the best but I can look to put to (sic) drivers in the truck to
run 24/7” as more fully described in paragraph 18 above

 

All in violation of Title 18, United States Code, Section 1343.

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COUNTS FIVE THROUGH SEVEN
MONEY LAUNDERING
Title 18, United States Code, Section 1957

38. Paragraphs 1 through 23 and 35 through 37 are re-alleged and incorporated herein
as if fully set forth in their entirety.

39. On or about the dates listed below, in the Western District of Arkansas, Hot
Springs Division, the Defendant, STEVEN CURTIS REYNOLDS, did knowingly engage in
and attempt to engage in monetary transactions by, through or to a financial institution, affecting
interstate commerce, in criminally derived property of a value greater than $10,000.00 such

property having been derived from a specified unlawful activity; namely, wire fraud in violation

of Title 18, United States Code, Section 1343, as follows:

 

 

Count | Date Monetary Transaction
5 August 14,2018 | A debit card transaction from the Reynolds Shipping USA

LLC Wells Fargo Bank account with account number
ending 8128 for payment of $13,413.76 to “Cleos Hot
Springs” debited on August 15, 2018

 

6 August 15,2018 | Check # 13619 drawn on the Reynolds Shipping USA LLC
Wells Fargo Bank account with account number ending
8128 in the amount of $26,390 made payable to Thomas

Nagin

 

 

a August 15,2018 | A debit card transaction from the Reynolds Shipping USA
LLC Wells Fargo Bank account with account number
ending 8128 for payment of $13,648.70 to “Reynold’s
Family W” debited on August 17, 2018

 

 

 

 

All in violation of Title 18, United States Code, Section 1957.

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COUNTS EIGHT AND NINE
WIRE FRAUD
18 United States Code, Section 1343

40. Paragraphs 1 through 5 and 25 through 34 are re-alleged and incorporated herein
as if fully set forth in their entirety. |

41. Beginning at a time unknown but at least as early as July 2018 and continuing to
in or about October 2018 in the Western District of Arkansas, Hot Springs Division and
elsewhere, the Defendant, STEVEN CURTIS REYNOLDS, devised and intended to devise a
scheme and artifice to defraud and for obtaining money and property by means of material false
and fraudulent pretenses, representations and promises, namely, the “scheme to defraud

involving the jet fuel refinery” as described above.

EXECUTION OF THE SCHEME TO DEFRAUD
INVOLVING THE JET FUEL REFINERY

42. On or about the dates listed below, in the Western District of Arkansas, Hot
Springs Division, and elsewhere, the Defendant, STEVEN CURTIS REYNOLDS, for the
purpose of executing the above-described “scheme to defraud involving the jet fuel refinery”
transmitted and caused to be transmitted by means of wire communication in interstate

commerce, any writings, signs, signals, pictures, and sounds, that is, the following:

 

Count | Date Wire Transmission

 

8 August 21, 2018 An electronic mail from REYNOLDS to Michael Pauletto
as more fully described in paragraph 30 above

 

 

9 September 19, 2018 | An electronic mail from an employee of REYNOLDS to
Michael Pauletto with copy to REYNOLDS stating in
part, “Below is the contact for Aaron Christensen, he is
our private banker at Bank Of America. You can contact
him and he will help you complete the wire. Let me know
if you need anything else from me I am happy to help” as
more fully described in paragraph 32 above

 

 

 

 

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All in violation of Title 18, United States Code, Section 1343.
COUNTS TEN AND ELEVEN
MONEY LAUNDERING
Title 18, United States Code, Section 1957

43. Paragraphs 1 through 5, 25 through 34, and 40 through 42 are re-alleged and
incorporated herein as if fully set forth in their entirety.

44. On or about the dates listed below, in the Western District of Arkansas, Hot
Springs Division, the Defendant, STEVEN CURTIS REYNOLDS, did knowingly engage in
and attempt to engage monetary transactions by, through or to a financial institution, affecting
interstate commerce, in criminally derived property of a value greater than $10,000.00 such

property having been derived from a specified unlawful activity; namely, wire fraud in violation

of Title 18, United States Code, Section 1343, as follows:

 

 

Count | Date Monetary Transaction
10 September 21, 2018 | Check # 249 drawn on REYNOLDS’ Bank of America

account with account number ending in 1571in the
amount of $51,337.03 made payable to Riser Ford

 

 

11 September 22, 2018 | Check # 269 drawn on REYNOLDS’ Bank of America
account with account number ending in 1571in the
amount of $23,570.37 made payable to Riser Ford

 

 

 

 

All in violation of Title 18, United States Code, Section 1957.
FORFEITURE ALLEGATION - WIRE FRAUD COUNTS
45. The allegations contained in Counts One through Four, Eight, and Nine of this

Indictment are hereby re-alleged and incorporated by reference for the purpose of alleging

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forfeitures pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c).

46. Upon conviction of the offenses in violation of Title 18, United States Code,
Section 1343, as set forth in this Indictment, the Defendant, STEVEN CURTIS REYNOLDS,
shall forfeit to the United States of America, pursuant to Title 18, United States Code, Section
981(a)(1)(C) and Title 28, United States Code, Section 2461(c), any property, real or personal,
which constitutes or is derived from proceeds traceable to the offenses. The property to be
forfeited includes, but is not limited to, the following: a forfeiture money judgment.

47. If the property described above, as a result of any act or omission of the

Defendant:

a. cannot be located upon the exercise of due diligence;

bs; has been transferred or sold to, or deposited with, a third party:

G has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided
without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section
2461(c).
FORFEITURE ALLEGATION - MONEY LAUNDERING COUNTS
48. The allegations contained in Counts Five through Seven, Ten, and Eleven of this
Indictment are hereby re-alleged and incorporated by reference for the purpose of alleging

forfeitures pursuant to Title 18, United States Code, Sections 982(a)(1).

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49. Pursuant to Title 18, United States Code, Section 982(a)(1), upon conviction of an
offense in violation of Title 18, United States Code, Sections 1956 or 1957, the Defendant,
STEVEN CURTIS REYNOLDS, shall forfeit to the United States of America any property,
real or personal, involved in such offense, and any property traceable to such property. The
property to be forfeited includes, but is not limited to, the following: a forfeiture money

judgment.

50. If the property described above, as.a result of any act or omission of the

Defendants:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party:

cy has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

S has been commingled with other property which cannot be divided
without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section

982(b)(1) and Title 28, United States Code, Section 2461(c).

A True Bill. David Clay Fowlkes
Acting United States Attorney

/s/ Grand Jury Foreperson By: OSS

Grand Jury Foreperson Graham Jones
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